
650 S.E.2d 440 (2007)
STATE
v.
William Leroy BARNES.
No. 146A94-3.
Supreme Court of North Carolina.
July 19, 2007.
George B. Currin, Raleigh, for Barnes.
Jonathan P. Babb, Special Deputy Attorney General, William D. Kenerly, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 18th day of July 2007 by Defendant for Extension of Time to File Petition for Writ of Certiorari:
"Motion Allowed. Defendant (Barnes) shall have up to and including the 28th day of September 2007 to file and serve his/her Petition for Writ of Certiorari with this Court. By order of the Court in conference this the 19th day of July 2007."
